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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194-KPF

 MWK Recruiting, Inc. v. Jowers, et al.,          ORAL ARGUMENT REQUESTED
 pending in the U.S. District Court for the
 Western District of Texas,
 Case No. 1:18-cv-00444-RP

 BREAKING MEDIA, INC.
 dba ABOVE THE LAW,

                                   Petitioner,

                   -against-

 EVAN P. JOWERS,

                                 Respondent.


      AMENDED NOTICE OF MOTION TO QUASH NON-PARTY SUBPOENA ON
          GROUNDS OF, AMONG OTHERS, REPORTER’S PRIVILEGE

       PLEASE TAKE NOTICE that, upon 1) the accompanying Declaration of John Lerner, 2)

the accompanying Declaration of David S. Korzenik and exhibits annexed to it, 3) the

accompanying Amended Memorandum of Law, and 4) all prior proceedings, Petitioner Breaking

Media, Inc., publisher of AboveTheLaw.com (“Petitioner”), by its attorneys, Miller Korzenik

Sommers Rayman LLP, will move this Court as soon as counsel can be heard, for an Order (i)

quashing the subpoena (“Subpoena” attached as Exhibit A to the Declaration of David S.

Korzenik) served on Petitioner by Respondent Evan P. Jowers (“Respondent”) in connection

with the case MWK Recruiting, Inc. v. Jowers, et al., pending in the U.S. District Court for the

Western District of Texas (Case No. 1:18-cv-00444-RP) pursuant to Fed. R. Civ. P. 45(d)(3); (ii)

awarding Petitioner its reasonable expenses and attorneys’ fees incurred in responding to the

Subpoena pursuant to Fed. R. Civ. P. 45(d)(1); and (iii) awarding such other and further relief as
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the Court deems just and proper. Petitioner respectfully requests that the Court hold oral

argument on this Motion.


DATED: New York, New York                    MILLER KORZENIK SOMMERS RAYMAN LLP
       March 4, 2021

                                             By: /s/ David S. Korzenik                 a
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